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 10
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 11
                             CENTRAL DISTRICT OF CALIFORNIA
 12
                                       WESTERN DIVISION
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 14
 15   Jenny Lisette Flores., et al.,              Case No. CV 85-4544-DMG-AGRx

 16                    Plaintiffs,                PLAINTIFFS’ [PROPOSED]
                                                  PRELIMINARY INJUNCTION.
 17         v.
 18                                               Hearing: April 24, 2020 10 AM
      William Barr, Attorney General of the
 19   United States, et al.,
                                                  [HON. DOLLY M. GEE]
 20                    Defendants.
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                                                             PLAINTIFFS’ PROPOSED PRELIMINARY INJUNCTION
                                                                               CV 85-4544-DMG-AGRX
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                                      3                 PLAINTIFFS’ PROPOSED PRELIMINARY INJUNCTION
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  1   IT IS HEREBY ORDERED as follows:
  2   1.    Defendants are ORDERED TO SHOW CAUSE by June 19, 2020 at 10:00
  3   a.m. why this injunction should not be extended.
  4   2.    Pending the OSC hearing, IT IS HEREBY FURTHER ORDERED as
  5   follows:
  6   a.    For a period of 60 days, to comply with class members’ right to “safe and

  7         sanitary” conditions of detention (FSA ¶ 12A), and to be “treated … with …

  8         special concern for their particular vulnerability as minors,” (id. ¶ 11), and to

  9         prompt release to available sponsors (id. ¶¶ 14 and 18), and to detain minors
            in the least restrictive setting (id. ¶ 11 and 23), ICE and ORR shall make and
 10
            record continuous efforts aimed at the release of class members and release
 11
            them to available and acceptable sponsors identified in Paragraph 14 of the
 12
            FSA, or, if not released within 20 days and detained in an FRC, release them
 13
            with their detained parent unless that parent is determined to be a flight risk
 14
            or danger.
 15
      b.    In all facilities holding class members, ICE and ORR shall comply with all
 16
            CDC guidelines for detention facilities.
 17
      c.    ICE shall detain each child in the least restrictive setting.
 18
      d.    In order to monitor ICE and ORR compliance with the Court’s Order and
 19         evolving COVID-19 practices, and to resolve the current material factual
 20         disputes between the parties’ declarants regarding practices at the ICE and
 21         ORR facilities, and to assist the parties and the Court in determining the need
 22         for or scope of any further Orders after 60 days, for a period of 30 days the
 23         parties may propound written discovery and conduct depositions (with any
 24         disputes to be promptly addressed by the Special Monitor).
 25   e.    During the 60 days after this Order is issued, the parties shall meet and
 26         confer with the assistance of the Special Monitor to address compliance with
 27         the Court’s Order and file a joint status report addressing any remaining
 28         disputes that require the Court’s adjudication of the pending application.

                                                                               PLAINTIFFS PROPOSED PI
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  1   f.     For purposes of ensuring prompt release over the next 60 days, ORR shall
  2          cease its blanket policy requiring fingerprints from all Category 2B and
  3          Category 3 sponsors and from all sponsors, adult household members, and
  4          adult care providers in every case where a home study is conducted. ORR
  5          may continue to require fingerprints if it conducts an individualized
  6          assessment and determines that fingerprinting is necessary to address a

  7          documented risk of safety to the child.

  8   g.     For purposes of ensuring class members are housed in safe and sanitary

  9          conditions, ICE and ORR shall inform a class member's counsel when a class
             member has been infected with or exposed to COVID-19 where counsel has
 10
             class member's or the class member's parent's consent to release their medical
 11
             information.
 12
 13
             IT IS SO ORDERED.
 14
 15   Dated: April__, 2020                             ___________________________
 16                                                    United States Judge Dolly M. Gee
 17
 18   Presented by:

 19
       _____/s/_______
 20
       Peter Schey
 21    One of the Attorneys for Plaintiffs
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                                             2                   PLAINTIFFS’ PROPOSED PRELIMINARY INJUNCTION
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